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 8                                UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11   MS. L, et al.,                                        Case No.: 3:18-cv-00428-DMS-AHG
12                               Petitioners-Plaintiffs,   ORDER GRANTING JOINT
     v.                                                    MOTION TO CONTINUE
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                                                           SETTLEMENT CONFERENCE
14   U.S. IMMIGRATION AND CUSTOMS                          AND RELATED DEADLINES
     ENFORCEMENT, et al.,
15
                         Respondents-Defendants.           [ECF No. 741]
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18         Before the Court is the parties’ Joint Motion for Continuance of Settlement
19   Conference re Attorney Fee Negotiations and Related Deadlines. ECF No. 741. Under the
20   Court’s current deadlines, Plaintiffs were required to serve a fee demand on Defendants by
21   April 10, 2024, and Defendants were required to respond by May 1, 2024. ECF No. 740 at
22   1. Further, the Court set a Settlement Conference on June 5, 2024 before Magistrate Judge
23   Allison H. Goddard to take place if the parties’ first status report on the attorney fee issue,
24   which is due on May 28, 2024 pursuant to the order of presiding Chief District Judge Dana
25   M. Sabraw, reflects that the parties have not reached an agreement through informal
26   negotiations. Id. at 1-2.
27         In the instant motion, the parties explain that Plaintiffs timely served their attorney
28   fee demand on Defendants on April 10, 2024. ECF No. 741 at 3. On April 13, Defendants

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 1   requested that Plaintiffs provide more detailed billing records in support of the fee demand,
 2   which Plaintiffs are in the process of producing. Id. Because Plaintiffs’ billing records are
 3   voluminous, the parties ask that the Court permit them additional time to submit, review,
 4   and engage in settlement negotiations without court facilitation before requiring them to
 5   proceed to a Settlement Conference before Judge Goddard. Id.
 6         Good cause appearing, the Court GRANTS the parties’ Joint Motion. The Court
 7   resets the Settlement Conference and related deadlines as follows:
 8         Plaintiffs must complete the production of their billing records to Defendants by
 9   April 29, 2024. Defendants must respond to Plaintiffs’ fee demand by May 24, 2024.
10   Thereafter, counsel must meet and confer to try to reach an agreement on the attorney fee
11   issue without court facilitation.
12         The parties do not request an extension of the May 28, 2024 deadline to file a Joint
13   Status Report with the Court regarding the status of the attorney fee negotiations. That
14   deadline thus remains in place as previously set by Chief Judge Sabraw.
15         If the parties are unable to reach agreement through informal settlement negotiations,
16   the Court will hold a Settlement Conference on July 8, 2024 at 9:30 a.m. before Judge
17   Goddard. The Settlement Conference shall take place via videoconference, using the
18   Court’s official Zoom account. Client participation is not expected or required.
19         In preparation for the Settlement Conference, no later than July 1, 2024, each side
20   must lodge a confidential Settlement Conference Statement with the Court at
21   efile_Goddard@casd.uscourts.gov, which must include a copy of that side’s attorney fee
22   demand or response, along with a confidential explanation of that side’s settlement position
23   on the fee issue and any other information deemed important to settlement negotiations.
24   The confidential Settlement Conference Statements are limited to five (5) pages each, not
25   including exhibits. The fee demand/response may be included as an attachment.
26         Counsel for all parties involved in the attorney fee negotiations must lodge a
27   participant list with the Court at efile_Goddard@casd.uscourts.gov no later than
28   July 1, 2024, containing the names and email addresses of each expected participant for

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 1   that side. Chambers staff will circulate the Zoom invitation to all identified participants at
 2   least one day prior to the conference.
 3         All participants shall display the same level of professionalism during the hearing
 4   and be prepared to devote their full attention to the hearing as if they were attending in
 5   person, including by dressing in appropriate courtroom attire. Participants should be
 6   prepared to appear on camera and should not be driving or otherwise in a car during the
 7   conference. Because Zoom may quickly deplete the battery of a participant’s device, each
 8   participant should ensure that their device is plugged in or that a charging cable is readily
 9   available during the videoconference.
10         IT IS SO ORDERED.
11   Dated: April 25, 2024
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